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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


 CHASE EPPS,                                      )
                                                  )
                Plaintiff,                        )
                                                  )
         v.                                       )
                                                  )
 THOMAS DART, Sheriff of Cook County in           )    Case No. 1:22-cv-02393
 his official and individual capacities, and      )
 Executive Director AMANDA GALLEGOS,              )    Hon. Judge Mary M. Rowland
 Superintendent HERNANDEZ, Lieutenant             )
 JOHNSON, Shift Commander HUDSON, and             )    Magistrate Judge Harjani
 Correctional Officer SPURLOCK, in their          )
 individual capacities,                           )
                                                  )
                Defendants.                       )


                                  JOINT STATUS REPORT

        Pursuant to the Court’s December 2, 2022 Minute Entry (Dkt. No. 86), Plaintiff Chase

Epps and Defendants Thomas Dart, Amanda Gallegos, Franco Hernandez, Alta Johnson, Elbert

Hudson, and Valerie Spurlock, by and through their undersigned counsel, submit the following

Joint Status Report update.

I.      Discovery Updates

        Plaintiff’s discovery efforts of Defendants have focused on four categories of documents.

In summary, last week Defendants began the process of obtaining search term hit counts for the

search terms and custodians the Court ordered in its December 16th order. The Court ordered that

all responsive documents be produced by January 15th. After Defendants learned of a large

number of hits on January 10th, related to this Court’s December 16 order, it notified Plaintiff on

January 11 that, in their view, the search terms yielded an excessive number of hits. Defendants

estimate that the search terms will yield approximately 66,000 hits prior to de-duplication and
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threading. The parties held a meet and confer on January 12th, are in the process of obtaining

further granularity on the hit counts, and anticipate further negotiating the search terms and date

parameters to reach a reasonable production scope over the next month. The parties do not request

the Court’s assistance with party discovery at this time. Instead, the parties suggest that the Court

continue the status hearing until early to mid-February 2023, when the parties should have come

to ground on search terms and a date certain for completing Defendants’ document production.

         Although Defendants have yet to produce custodial documents in response to the Court’s

December 16th Order, it is Defendants’ position that they have made substantial efforts to show

compliance with this Court’s orders. Defendant Sheriff has recently produced an additional 178

videos, pursuant to this Court’s order to produce videos. Defendant Sheriff also produced 245

emails and their attachments comprising 10,242 pages, gleaned from custodial searches not

included in the Court’s December 16th order, and 46 additional sets of pest control records for

2021 and 2022 and 10 work order logs (Bates 5321-5461).

         Plaintiff requests the Court’s assistance with non-party discovery from the Department of

Facilities Management.      Facilities Management represents that it possesses no documents

concerning preparations made to close and re-open Division 4, but refuses to disclose, much less

discuss, its search terms and custodians. Plaintiff believes Facilities Management should, at a

minimum, disclose its search terms and custodians, and seeks the Court’s guidance on this issue.

Defendants would prefer to avoid further motion practice with Facilities Management if possible.

         A more detailed summary of the procedural history and current discovery status is set forth

below.
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       A.      Party Discovery

               1.     Defendant Dart

       On September 19, 2022, the Court granted in part Plaintiff’s First Motion to Compel and

ordered Defendant Sheriff Tom Dart to participate in discovery in his individual capacity,

including personally signing interrogatory responses and producing documents from his custodial

files. (9/19/22 Hearing Tr. 10:5–23, Dkt. No. 44.) On October 7, 2022, Defendant Dart moved

(1) for reconsideration on the issue of whether Sherriff Dart must sign his interrogatory responses

and (2) to stay all discovery as to Defendant Dart in his individual capacity. (Dkt. No. 47.) On

November 28, 2022, the Court denied Defendant Dart’s motion in its entirety and ordered

Defendant Dart to serve signed copies of his interrogatory responses on or before

December 12, 2022. (11/28/22 Order at 16, Dkt. No. 83.) On December 16, 2022, Defendant Dart

provided his individual capacity supplemental answers.

       The Court’s November 28, 2022 Order also restated its prior ruling that Defendant Dart

must be included in any custodial discovery searches. (Id. at 4 n.3.) Prior to the Court’s

November 28, 2022 ruling, Plaintiff filed a motion, which included Defendant Dart as a custodian

in Plaintiff’s proposed custodial search protocols. (Dkt. No. 72.) The Court granted Plaintiff’s

motion, ordering searches to include Defendant Dart, as well as sixteen other custodians using the

search terms and date parameters Plaintiff provided. (See 12/16/22 Order at 2, 7 & n.9, Dkt. No.

89.) The Court established January 15, 2023 as the deadline for production. (See id. at 11, Dkt.

No. 89.) To date, Defendants have not produced documents from Defendant Dart’s custodial files.

The parties are in the process of negotiating the scope of the custodial searches, as described in

Part I.A.3, below.
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       On December 1, 2022, Defendants searched for the terms “Chase Epps” “Epps, Chase” or

“20191223018” or “2019-1223018” in Defendant Dart’s email account and informed Plaintiff that

the search produced no hits.

               2.      Division 4 Opening and Closing Documents

       On September 19, 2022, the Court ordered Defendants to search for relevant memoranda

and white papers regarding the closing and re-opening of Division 4, during the period 2018 to

2021. (9/19/22 Tr. 12:19–22, 13:1–3.) During the October 17 status hearing, Defendants reported

that “[t]here are none. Any discussion regarding the opening and closing would be in e-mails.”

(10/17/22 Tr. 4:15–17, Dkt. No. 73.) In response, the Court ordered Plaintiff to include custodial

search parameters for opening and closing documents in its custodial search motion. (Id. at 25:3–

10.) Plaintiff’s Motion for Custodial Searches was filed November 4, 2022. (Dkt. No. 71.) It

included specific custodial search parameters, including a date range, custodians, and search terms,

regarding documents addressing the closing and re-opening of Division 4. (Dkt. No. 72.)

       The Court ordered that Defendants use Plaintiff’s proposed time period, custodians, and

search terms related to the closing and re-opening of Division 4 in its December 16 Order.

(12/16/22 Order at 8 (citing Dkt. 72 at 8–11), Dkt. No. 89.) The Court instructed Defendants to

conduct the ESI searches and produce any documents by January 15, 2023. (12/16/22 Order at 11,

Dkt. No. 89.) Defendants have not produced any documents. The parties are negotiating the scope

of the custodial searches, as described in Part I.A.3, below.



               3.      Custodial Discovery

       On September 19, 2022, the Court ordered (1) the parties to negotiate a set of agreed search

terms addressing all other custodial discovery and (2) Defendants to produce responsive

documents by October 7, 2022. (9/19/22 Tr. 15:2–8, 20:8-10.) The day after the hearing, Plaintiff
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sent Defendants a search term proposal and request to meet and confer. (9/20/22 Letter from K.

Walling, Dkt. No. 72-2.) Defendants did not make a counterproposal and instead ran searches

based on umbrella terms selected without Plaintiff’s input. (10/7/22 Email from J. DeVore,

Dkt. No. 72-3.) Defendants did not produce documents on October 7.

       To resolve the custodial searches issue, during the October 17 status hearing, the Court

ordered Plaintiff to file a motion setting forth specific custodial search parameters, including date

ranges, custodians, and search terms. (10/17/22 Tr. 21:11–22:13.) Plaintiff filed his Motion for

Custodial Searches on November 4, 2022. (Dkt. Nos. 71, 72.)

       On October 31, 2022, Plaintiffs advised that it wanted Defendants to, and Defendants

agreed to, produce a set of 526 emails related to “hits” provided by Defendants to Plaintiff on

October 21. Defendants identified these documents after running searches for Plaintiff’s name

across the emails of the following six individuals: (1) Don Beachem; (2) Franco Hernandez; (3)

Alta Johnson; (4) Angela Hawkins; (5) Cierra Reid; and (6) Amanda Gallegos. Defendants

represented to the Court that they would produce these documents by December 15, 2022. (See

12/1/22 Joint Status Report at 4, Dkt. No. 85.) On January 12 Plaintiff agreed to receive these

results as part of a broader custodial search response to be produced pursuant to agreement. On

January 14, 2023, Defendants produced these documents.

       On December 16, 2022, the Court ordered Defendants to search for responsive documents

using Plaintiff’s proposed time frame, custodians, and search terms related to conditions in

Division 4. (12/16/22 Order at 7 (citing Dkt. No 72), Dkt. No. 89.) The Court ordered production

of the results by January 15, 2023. (12/16/22 Order at 11, Dkt. No. 89.)

       After learning of a large volume of search “hits” on January 10, 2023, on

January 11, Defendants advised Plaintiffs that they expected application of the search protocols to
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result in a voluminous number of hits (estimated by Defendants as approximately 39,000). The hit

counts may not reflect the final numbers and counts were not provided for each search term or

each custodian, nor did it include hits in unindexed documents. On January 12, 2023, the parties

met and conferred to discuss the volume of hits. Defendants represented that it would take two

weeks to obtain hit counts by custodian and by search term and including both indexed and

unindexed documents. Defendants agreed to provide that information for one of the searches by

January 19, 2023, and for the remaining searches on a rolling basis, to be concluded by January

26, 2023. The parties agreed to meet and confer to refine the searches as the detailed hit counts

become available, and have scheduled their next meet and confer for January 24, 2023. The parties

have further agreed that Defendants will employ threading and de-duplication tools to refine the

hits.

        On November 30, 2022, Defendants served a declaration from Deputy Director Penaranda,

which identified Penaranda as the former Environmental Safety Coordinator with knowledge of

pest control records and responsibility for “insuring that all divisions and tiers are clean and

sanitary” in 2020. On December 22, 2022, Plaintiff requested and Defendants agreed that Deputy

Director Penaranda would be added as a custodian for the date range of March 1, 2020, to

November 30, 2020, using the search query string identified in the order:

(“Division 4” OR “DIV 4” OR DIV4* OR D4* OR “Division IV” OR “DIV IV” OR “D IV”)
AND (clean*4 OR unclean OR maintain* OR housekeep* OR inspect* OR conditions OR unsafe
OR sanit* OR unsanitary OR habitab* OR unhabit* OR uninhabit* OR dehydrat* OR potabl* OR
cooler OR water OR drink* OR undrink* OR sewage OR feces OR fecal OR urine OR plumb*
OR pipe* OR leak* OR mold OR mildew OR fungus OR insect OR roach OR cockroach OR flea
OR bedbug OR rodent OR mice OR mouse OR rats OR infest*).

        Defendants estimate that this search, run across the other 10 custodians, will result in

approximately 11,000 hits prior to deduplication and threading.

               4.     Video Discovery
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       On September 19, 2022, the Court granted in part and denied in part Plaintiff’s First

Motion to Compel and ordered Defendants to produce videos from the six dates corresponding to

Mr. Epps’s Division 4 grievances: (1) June 18, 2020; (2) August 14, 2020; (3) August 18, 2020;

(4) August 27, 2020; (5) October 5, 2020; and (6) October 6, 2020. (9/19/22 Tr. 17:15-18:4;

9/20/22 Letter from K. Walling, Dkt. No. 72-2.) During the October 17 hearing, Defense counsel

represented that videos associated with the six dates for Plaintiff’s grievances “no longer exist.”

(10/17/22 Tr. 6:7-13, 11:15-12:1.) In response, the Court ordered Defendants to file an affidavit

explaining their search process and affirming no videos existed on any of the six grievance dates.

(Id. at 13:11-17, 16:13-24.)    On October 28, 2022, Defendants filed the Affidavit of Sean

Chambers, Executive Director of Case Review within the Office of the Cook County Sheriff’s

Bureau of Information & Technology.         (See generally Chambers Aff., Dkt. No. 68.)        On

October 31, 2022, Defendants produced four videos corresponding to two incident reports

referencing Mr. Epps.

       On November 4, 2022, Plaintiff moved to enforce the Court’s original September 19 Order

regarding the production of video evidence, asking the Court to order Defendants to produce video

associated with the six dates of Mr. Epps’s grievances. (Dkt. Nos. 71, 72.) On December 16,

2022, the Court granted that request. (12/16/22 Order at 10-11, Dkt. No. 89.) The Court ordered

production of the remaining videos by January 15, 2023. (Id.) On January 13, 2023, Defendant

Sheriff produced 178 videos in compliance with this Court’s December 16, 2022 Order.

                        2.     Additional Document Discovery

       On November 10, 2022, the Court ordered Defendants to produce by November 30, 2022:

(1) Division 4 work orders from March 1 through November 30, 2020; (2) the June 2020 and the

first of the November 2020 bimonthly inspection reports for Division 4, the June daily pest

notification for Tier Q2, and pest control records regarding the Cook County Jail kitchens; (3) all
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power washing records; and (4) an affidavit affirming production of all pest control and power

washing records in their possession, custody, or control. (11/10/22 Order at 2–3, Dkt. No. 75.)

         On November 30, 2022, Defendants (1) did not produce any work orders; (2) did not

produce the first of the June 2020 and the first of the November 2020 bimonthly inspection reports

for Division 4, the June daily pest notification for Tier Q2, or pest control records regarding the

Cook County Jail kitchens, nor did they represent that these records do not exist or that they had

searched for pest control records regarding the Cook County Jail kitchens (Dkt. 85-1, Pest Control

Declaration at ¶ 9 (declarant unaware of “records of pest control visits of [sic] treatment for

Division 4”)); and (3) represented that power washing was not conducted in Division 4 after

mid-March 2020. (Dkt. 85-2, Power Washing Declaration at ¶ 9.) Plaintiff identified the work

order and pest control record deficiencies in the December 1, 2022 joint status report and by letter

on December 22, 2022 and requested correction of the deficiencies by January 15, 2023.

                       a.      Work Orders

         On January 11, 2023, Defendants produced available work order records as “Logbook

Quick List[s]” of work orders, but not the work orders themselves. (CCSAO Epps 5086-5320.)

         During a January 12, 2023 meet and confer, Defendants represented that they are not in

possession, custody, or control of the work orders themselves, but agreed to request the

March 2020 work orders from the Department of Facilities Management and to provide an

affidavit representing that Defendants are not in possession, custody, or control of the work orders.

Defendants produced the March 2020 “Reactive” work orders on January 13, 2023, and

represented that they expect to provide the affidavit by January 21, 2023. (CCSAO Epps 5462-

5471).
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                                  b. Pest Control Records

       Defendant Dart has produced all available bimonthly inspection reports, also called service

inspection reports, for Division 4 for 2020–2022. (CCSAO Epps 005023-005084; 5321-5461).

Defendants represent that there are no bimonthly inspection reports for the first of the June 2020

and the first of the November 2020 bimonthly inspection reports.

       Defendant Dart has now produced the June daily pest notification for Tier Q2 (produced at

CCSAO Epps 5085-5320).

       Quarterly Pest Control Summaries include the entire Cook County Department of

Corrections, including the kitchens.       (CCSAO Epps 2523-2526; 5023-5040; 5068-5087.)

Defendants have represented that the quarterly pest control summaries were the only pest control

records kept regarding the Cook County Jail kitchens. Sheriff Dart has produced quarterly pest

control summaries for 2020-2022.

       Defendants represent that all 2020 Division 4 pest control records in the possession,

custody and control of Defendants have been produced (CCSAO Epps 2494-2531, 5023-5040, and

5068-5084).

       B.      Third-Party Discovery

               1.      Department of Facilities Management

       On October 10, 2022, Plaintiff moved to compel discovery from the Department of

Facilities Management. (See Dkt. No. 50.) The Court ordered Facilities Management to produce

work orders from April 1, 2020 through December 31, 2020. (See 11/4/22 Order at 3, Dkt. No.

70.) Facilities Management has produced the work orders.

       The Court also ordered that Facilities Management run additional searches for documents

concerning preparations made to close and re-open Division 4, and execute an affidavit affirming

that after those additional searches, Facilities Management is not in possession, custody, or control
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of any documents concerning preparations made to close and re-open Division 4. (See 11/4/22

Order at 4, Dkt. No. 70.) Facilities Management filed an affidavit making that representation,

without explaining its searches. (See Jacobs-El Aff. ¶ 7, Dkt. No. 76)

       Plaintiff’s counsel met and conferred with the Facilities Management on December 12,

2020 to discuss the scope of its searches. Facilities Management’s counsel suggested that it may

have used terms like “Division 4,” “closing,” “opening,” and “reopening” in search strings, but

would not confirm its search terms, explain the terms and connectors used, or disclose its

custodians. Counsel also suggested that due to the nature of Facilities Management’s role, its

documents would not use terms like “opening” or “closing.” By letter on December 30, Facilities

Management reaffirmed its refusal to identify its search terms or custodians.

       As this Court has already pointed out, “[i]t could be that the scope of the search by DFM

is too narrow.” (11/4/22 Order at 4, Dkt. No. 70.) Because Facilities Management’s searches have

yielded zero documents, Plaintiff believes Facilities Management should, at a minimum, describe

its searches, and requests the Court’s guidance to resolve this dispute. See, e.g., DeGeer v. Gillis,

755 F. Supp. 2d 909, 929 (N.D. Ill. 2010) (“[Subpoena recipient] should have been up-front

with . . . counsel regarding its proposed custodians and search terms and then receptive

to . . . counsel’s input.”). Plaintiff would prefer to avoid further motion practice with Facilities

Management if possible.

               2.      Department of Budget and Management Services

       Plaintiff issued a subpoena to the Department of Budget and Management Services. The

parties and Budget Management conferred by Zoom meeting and by mail, and Budget

Management made a production on December 30, 2022.               Plaintiff’s counsel has requested

additional information to enable Plaintiff to understand Budget Management’s production

regarding expenditures on the Cook County Jail.
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II.    Pending Motions

       There are no pending motions before the Court. If helpful to the Court, Plaintiff will brief

the Facilities Management dispute described in Part I.B.1 above.

III.   Settlement Discussions

       The parties recently became involved in active settlement negotiations. In April 2022,

Plaintiff rejected Defendants’ initial Rule 68 Offer of Judgment and made a demand. Defendants

did not respond to Plaintiff’s demand. On May 3, 2022, Judge Rowland granted Plaintiff’s motion

to voluntarily dismiss and refile this case and denied Defendants’ motion to dismiss Defendants

Dart and Gallegos. After Plaintiff refiled, Defendants made a second Rule 68 Offer of Judgment.

Plaintiff rejected that offer and, at Defendants’ request, resent his original demand. Defendants

sent Plaintiff a revised settlement offer on January 13, 2023, which Plaintiff is considering.

Plaintiff expects to respond to that settlement offer this week.

       Defendants believe it would be productive for the parties to participate in a settlement

conference, prior to participating in further, costly written and oral discovery. Plaintiff is amenable

to participating in a settlement conference, but believes discovery should proceed in accordance

with the Court’s prior orders. The completion of written discovery has already been delayed by

over two months, further unnecessary delay should be avoided, and Defendants have yet to comply

with the Court’s orders.

IV.    Case Schedule

       During the September 19, 2022 hearing, the Court recognized the need to extend certain

scheduling deadlines, but declined to do so until the parties had some additional clarity on the

scope and anticipated completion of discovery. (9/19/22 Tr. 8:6–15, 19:20–20:4.) During the

October 17 status hearing, the Court stayed the deadline for written discovery, but did not alter the

other case deadlines. (10/17/22 Tr. 25:22–26:1.) Considering the Court’s recent rulings which
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have provided significant clarity on the scope of discovery, and to give Defendants time to comply

with the Court’s rulings, the Parties agree a short extension of the full schedule is appropriate. The

parties believe that it would be beneficial to reschedule the January 19, 2023 status hearing to a

time during early to mid-February 2023, when the parties should have come to ground on search

terms and a date certain for completing Defendants’ document production.



 Dated: January 16, 2023                            Respectfully submitted,

 /s/ David J. Zott              p                   /s/ Jason E. DeVore         p
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                             CERTIFICATE OF SERVICE

   I hereby certify that on January 16, 2023, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send such filing to all attorneys of record.


                                                        /s/ David J. Zott
                                                     David J. Zott P.C.
